   Case: 1:16-cv-08303 Document #: 435 Filed: 06/24/21 Page 1 of 2 PageID #:9486



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 T.S. et al.,
                                                             Case No. 1:16-cv-08303
                        Plaintiffs,
                                                             Honorable Chief Judge
                v.                                           Rebecca Pallmeyer

 Twentieth Century Fox Television, a division of
 Twentieth Century Fox Film Corporation et al.,

                        Defendants.



  DEFENDANTS, THE COUNTY OF COOK, ILLINOIS AND LEONARD DIXON’S
  MOTION FOR CERTIFICATION OF THE COURT’S ORDER ON DEFENDANTS’
    MOTION FOR SUMMARY JUDGMENT PURSUANT TO 28 U.S.C. § 1292(B)

       Defendants the County of Cook, Illinois, and Leonard Dixon, Superintendent of the Cook

County Juvenile Temporary Detention Center, respectfully move for an order amending the

Court’s Order dated June 10, 2021 (“The Order”) on Defendants’ Motion for Summary Judgment

(Dkt. No. 434), for the purpose of certifying The Order for immediate interlocutory appeal to the

Seventh Circuit pursuant to 28 U.S.C. § 1292(b) and Fed. R. App. P. 5(a)(3). The Court has

jurisdiction to issue the requested relief, and 28 U.S.C. § 1292(b) certification is appropriate

because The Order involved controlling questions of law as to which there is substantial grounds

for difference of opinion, and an immediate appeal from The Order may materially advance the

ultimate termination of the litigation. The bases for Defendants’ motion are set forth in greater

detail in the accompanying Memorandum Of Points And Authorities In Support Of Motion To

Certify Questions Pursuant To 28 U.S.C. § 1292(b), filed simultaneously with this Motion.


       Date: June 24, 2021               Respectfully Submitted,




                                               1
Case: 1:16-cv-08303 Document #: 435 Filed: 06/24/21 Page 2 of 2 PageID #:9487



                            By: Francis J. Catania
                               Francis J. Catania
                               Danielle Mikhail
                               Cook County State’s Attorney’s Office
                               50 West Washington, Room 500
                               Chicago, IL 60602
                               312-603-3373
                               francis.catania@cookcountyil.gov
                               danielle.mikhail@cookcountyil.gov

                               Attorneys for Defendant the County of Cook, Illinois


                            By: Lyle K. Henretty/ Patrick D. Morris
                               Lyle K. Henretty
                               Patrick D. Morris
                               Cook County State’s Attorney
                               50 W Washington, Suite 2760
                               Chicago, IL 60602
                               312-603-1434
                               patrick.morris@cookcountyil.gov
                               lyle.henretty@cookcountyil.gov

                               Attorneys for Defendant Leonard Dixon




                                      2
